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                                                           THE HONORABLE JAMES L. ROBART
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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8
       AUBRY MCMAHON,                                       Case No.: 2:21-cv-00920-JLR
 9

10                    Plaintiff,                            PLAINTIFF’S REPLY IN SUPPORT OF
                                                            HER RENEWED MOTION FOR
11            v.                                            SUMMARY JUDGMENT ON
                                                            AFFIRMATIVE DEFENSES
12     WORLD VISION, INC.,
                                                            NOTE ON MOTION CALENDAR:
13
                      Defendant.                            OCTOBER 20, 2023
14

15
              A ruling in favor of Defendant World Vision on any of its affirmative defenses (other than
16

17   BFOQ) would give it free reign to discriminate on any basis it chooses with respect to every job in

18   the company. While Defendant would like that to be the law, it isn’t. Under existing law, Plaintiff

19   Aubry McMahon is entitled to summary judgment on every one of the affirmative defenses at issue:
20            (1) World Vision’s Title VII religious employer defense fails because Plaintiff has not
21
                   brought claims for religious discrimination.
22
              (2) World Vision’s WLAD religious employer and First Amendment ministerial exception
23
                   defenses fail because the Customer Service Representative position for which Plaintiff
24

25                 was hired was an administrative support worker not a minister.

26            (3) Not being in a same-sex marriage is not a BFOQ under either Title VII or the WLAD.



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                (4) Defendant’s Free Exercise affirmative defense fails because Title VII and the WLAD
 1

 2                 are generally applicable laws that treat religion neutrally, if not favorably.

 3              (5) Neither Title VII nor the WLAD violates Defendant’s right to expressive association

 4                 because any incidental impact on that right is more than justified by the state’s
 5
                   compelling interest in preventing employment discrimination; and
 6
                (6) Defendant’s compliance with Title VII and the WLAD will not require it to engage in
 7
                   any compelled speech.
 8
          I.       TITLE VII’S RELIGOUS EMPLOYER EXEMPTION DOES NOT APPLY
 9

10              World Vision continues to play fast and loose with legal precedent by insisting that Title

11   VII’s religious employer exemption bars Plaintiff’s sex discrimination claim. Neither Garcia v.
12   Salvation Army, 918 F.3d 997, 1004, 1006 (9th Cir. 2019), nor any other federal appellate decision
13
     suggests that the Title VII religious employer exemption applies to anything other than religious
14
     discrimination claims. Plaintiff is entitled summary judgment on this affirmative defense.
15
          II.      PLAINTIFF WOULD NOT HAVE BEEN A MINISTER
16

17                 A. Defendant’s Arguments that Customer Service Representatives are Ministers
                      Would Make All World Vision Employees Ministers
18              The parties largely agree on the general legal counters of the First Amendment ministerial
19   exception,1 although they significantly disagree about its application to this case. World Vision
20   concedes that the ministerial exception only covers “a subset of employees” and applies only to
21   “employees with vital religious duties.” Dkt. No. 58 at 8-9 (internal punctuation omitted). Defendant
22   then argues that as Customer Service Representatives constitute less than 10% of World Vision’s
23   total workforce, every one of its five or six dozen Customer Service Representatives qualifies for
24   the ministerial exception because they perform religious duties. Id. Defendant’s argument is fatally
25   flawed. All the reasons World Vision claims that Customer Service Representatives qualify for the
26
      1
       But not entirely. Defendant’s assertion that “ministerial duties” are defined by the employers’ religious expectations
      for a particular role, Dkt. No. 58 at 6, is contrary to law. Cf. Dkt. No. 52 at 4-5; Dkt. No. 56 at 3-4.

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 1   ministerial exception apply equally to every other World Vision employee. See Dkt. No. 52 at 10-

 2   13; Dkt. No. 56 at 8-11.

 3            For present purposes, Plaintiff will assume that, contrary to Melanie Freiberg’s original

 4   deposition testimony, Dkt. No. 25-13 at 22:15-19, Customer Service Representatives lead devotions.

 5   Dkt. No. 58 at 14-16. “Leadership of Devotions” is “part of every [World Vision] job description,”

 6   and is rotated among the staff. Dkt. No. 28-31 at 23. Accordingly, leadership of devotions is not a

 7   religious responsibility of only a “subset” of World Vision employees. Although some Customer

 8   Service Representatives lead chapels, Dkt. No. 58 at 13-15, leading chapel is not even “an

 9   expectation” of the Customer Service Representative position. Dkt. No. 25-13 at 22:20-23. Whether

10   a Customer Service Representative chooses to lead chapels depends entirely on their own “interest

11   and desire to lead.” Id. at 22:23. Defendant does not claim Customer Service Representatives play a

12   greater role in leading chapels than other World Vision employees. It is undisputed that the role of

13   Customer Service Representatives with respect to the leadership of both devotions and chapels is

14   the same as every other World Vision employee. Thus, neither is a religious responsibility applicable

15   only to the Customer Service Representative “subset” of Defendant’s workforce.

16            Defendant admits that the only “unique, important, vital, key role of” Customer Service

17   Representatives is to interact with “supporters and potential supporters.” Dkt. No. 58 at 14. No one

18   disputes that Customer Service Representatives interact with donors and potential donors and that

19   other World Vision employees do not have this job function. Defendant repeatedly touts that,

20   according to its Donor Contact Services (“DCS”) polices, “[b]eing part of DCS means you are the

21   Voice, Face, and Heart of World Vision.” Dkt. No. 58 at 1, 9, 12, 17, 38. About 25% of DCS staff

22   do not make any inbound and outbound calls. Dkt. No. 29 at ¶¶ 4-5. Thus, World Vision considers

23   DCS staff who do not make calls to or receive calls from donors to be just as much “the Voice, Face,

24   and Heart of World Vision” as Customer Service Representatives. Accordingly, making and

25   receiving donor phone calls does not make Customer Service Representatives ministers.

26



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 1            Defendant’s assertion that Customer Service Representatives “constitute a small subset of

 2   WV staff entrusted with voicing and personifying its Christian mission, vision, and strategies,” Dkt.

 3   No. 58 at 16, is also contrary to World Vision’s own documents. All World Vision employees have

 4   a “call to ministry.” Dkt. No. 29-4 at 7. “All World Vision staff…are responsible

 5   for…communicating World Vision’s Christian faith and witness…accurately and with integrity….”

 6   Dkt. No. 28 at ¶ 26 & Dkt. No. 29 at ¶ 12 (internal punctuation omitted). “[A]ll staff represent World

 7   Vision and, more importantly, the Gospel of Jesus Christ, in their work….” Dkt. No. 28-15 at 2. The

 8   only distinction is that Customer Service Representatives do so in donor phone calls and other World

 9   Vision employees don’t. But that is a distinction without a difference for purposes of the ministerial

10   exception. Id. at 10-11.

11            Thus, Defendant is left with the argument that Customer Service Representatives are

12   uniquely ministers among all of World Vision’s employees because only Customer Service

13   Representatives pray with donors. Dtk. No. 58 at 16-17. That argument is unavailing. Defendant

14   agrees with Plaintiff that the Court should determine whether the Customer Service Representative

15   position qualifies for the ministerial exception by examining the “essential functions” of the job.

16   Dkt. No. 58 at 11, 12. A job’s “‘essential functions’ are [the] fundamental job duties of the

17   employment position….” Bates v. UPS, Inc., 511 F.3d 974, 990 (9th Cir. 2007) (internal punctuation

18   omitted). “Essential functions” contrast with the “marginal functions of the position.” Id. The

19   undisputed evidence establishes that praying with donors was an optional, marginal function of the

20   Customer Service Representative job. It was not mandatory or required. Dkt. No. 25-10 at 24:9-11;

21   25:4, 10-12; 30:21-22. Defendant agrees the Customer Service Representative job description

22   “encourages but does not mandate” prayer with donors. Dkt. No. 58 at 16. Defendant does not

23   dispute that it would have been up to Plaintiff whether to pray with donors and that World Vision

24   would not have disciplined her if she chose not to do so. Dkt. No. 25-10 at 30:21-23.

25            None of the cases Defendant cites suggests that an employer can prove that a particular

26   position qualifies for the ministerial exception by relying upon purely optional religious functions.



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 1   Dkt. No. 58 at 7-8. Neither Hosanna-Tabor Evangelical Lutheran Church & School v. EEOC, 565

 2   U.S. 171 (2012), nor Our Lady of Guadalupe School v. Morrissey-Berru, 140 S. Ct. 2049 (2020),

 3   considered optional religious functions in concluding the teachers in those cases were ministers. In

 4   the latter, all the employer “expectations” upon which the majority relied were requirements set forth

 5   in Morrisey-Berru’s written employment agreement. 140 S. Ct. at 2056-57.

 6             Starkey v. Roman Catholic Archdiocese of Indianapolis, Inc., 41 F.4th 931, 941 (7th Cir.

 7   2022), looked to the employer-mandated “job duties and responsibilities” of the position. The court

 8   rejected Starkey’s argument that she did not qualify as a minister because she failed to perform some

 9   of the religious requirements of her position: “Under Starkey’s theory, an individual placed in a

10   ministerial role could immunize themself from the ministerial exception by failing to perform certain

11   job responsibilities…But an employee is still a minister if she fails to adequately perform the

12   religious duties she was hired and entrusted to do.” Id. Likewise, Fitzgerald v. Roncalli High School,

13   Inc., examined the mandatory religious duties of the same Director of Guidance position and the

14   religious duties the plaintiff claimed that she had performed. 73 F.4th 529, 533-34 (7th Cir. 2023).

15   None were optional. In Butler v. St. Stanislaus Kostka Catholic Academy, the court focused on what

16   the plaintiff was “obligated” to do, i.e., “the specific ministerial duties that it is undisputed that [the

17   plaintiff] would have performed.” 609 F. Supp. 3d 184, 194-96 (E.D.N.Y. 2022) (emphasis

18   supplied). There is no legal support for Defendant’s contention that optional religious job functions

19   can make an otherwise non-ministerial position ministerial.

20             In any event, World Vision’s contention that Customer Service Representatives are

21   uniquely ministerial employees because they may pray on the job directly contradicts its prior

22   assertion that all World Vision employees are ministers because they must pray on the job. Dkt. No.

23   26 at 25. Defendant emphasized “the core element of prayer” in asserting that all World Vision

24   employees are ministers because they all perform “important religious functions.” Id. An employee

25   does not qualify for the ministerial exception “simply because she believes in God, prays at work,

26   and is employed by a religious entity.” Palmer v. Liberty Univ., 72 F.4th 52, 75 (4th Cir. 2023) (Motz,



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 1   J., concurring). If the option to pray on the job with donors who are not necessarily co-religionists

 2   makes Customer Service Representatives ministers, then surely Defendant’s requirement that all

 3   World Vision staff pray at work with their co-religionists, Dkt. No. 28 at ¶ 26 & Dkt. No. 29 at ¶ 15,

 4   makes all World Vision employees ministers.

 5             Defendant’s arguments have no logical stopping point. If this Court were to rule that the

 6   limited religious duties of Customer Service Representatives put them within the ministerial

 7   exception, the inevitable consequence of that ruling would be that all World Vision employees will

 8   lose the protections of the laws against employment discrimination. Such a ruling would

 9   countermand the Supreme Court’s directive that the ministerial exception applies only to those

10   employees “holding certain important positions with churches or other religious institutions,” Our

11   Lady of Guadalupe, 140 S. Ct. at 2060, and who have “a role distinct from that of most…members.”

12   Hosanna-Tabor, 565 U.S. at 191.

13                 B. Precedent Compels the Conclusion that the Customer Service Representative
14                    Position is “at Bottom” Secular
               Defendant does not dispute the “main duty” of Customer Service Representatives is to
15
     “acquire and maintain donor relationships through the basic inbound and outbound calls.” Dkt. No.
16
     58 at 12. Defendant does not contest that 11 out of the 13 enumerated job duties of the Customer
17
     Service Representative position for which Plaintiff was hired in January 2021 are entirely secular.2
18
     See Dkt. No. 25-1 at 3. Defendant does not deny that the experience and skills that it advertised as
19
     necessary for the Customer Service Representative position are those appropriate to a call-center
20
     administrative support worker. Id. at 1, 4.
21
               Defendant makes only a weak effort to distinguish Ratliff v. Wycliffe Assocs., Inc., Case
22
     No. 6:22-cv-1185-PGB-RMN, 2023 WL 3688082 (M.D. Fla. May 26, 2023). Dkt. No. 58 at 20.
23
     There the court rejected the employer’s argument that the plaintiff, who had the title of Software
24
     Developer II, qualified under the ministerial exception because (1) his job description required him
25

26    2
       Defendant now claims to place “little weight” on the March 2022 Customer Service Representative job description,
      Dkt. No. 58 at 13, which differs in significant respects from the one for the position to which Plaintiff applied. The
      Court should place little weight on it as well.

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 1   to have “a personal relationship with Jesus Christ” and sense “a call from God to ministry” and (2)

 2   his job duties were “essential to Defendant’s central mission to share the Christian faith with

 3   unreached people groups around the world.” Id. at *5 n. 8 & 6. Defendant here makes nearly identical

 4   arguments as the defendant in Ratcliff. Because McMahon also had no “idiosyncratic religious title,

 5   background, education, or function,” this Court should likewise hold that her accepting a job as a

 6   World Vision Customer Service Representative was “a far cry from accepting a job akin to a

 7   minister.” Id. at *5, *6.

 8             There is literally no record support for Defendant’s contention that “a Donor Services

 9   Representative in an explicitly Christian charity like WV conveys at least as much religious content

10   as a lay teacher in a Christian school.” Dkt. No. 58 at 10 (emphasis supplied). Defendant’s contention

11   also contravenes the unique nature of religious education that the Supreme Court recognized in Our

12   Lady of Guadulupe, 140 S. Ct. at 2064-66. “[E]ducating young people in their faith, inculcating its

13   teachings, and training them to live their faith are responsibilities that lie at the very core of the

14   mission of a private religious school.” Id. at 2064. For that reason, courts take a broad view of the

15   ministerial exception in the context of religious education. See Dkt. No. 52 at 15-16. However, even

16   “Christian teachers” do not necessary qualify for the exception.

17             In Palmer v. Liberty Univ., Case No. 6:20-cv-31, 2021 WL 6201273, *22 (W.D. Va. Dec.

18   1, 2021), vacated and appeal dismissed, 72 F.4th 52 (4th Cir. 2023), the district court found that an

19   art professor for a Christian university fell outside the ministerial exception even though she was a

20   “Christian teacher” who performed some religious functions. On appeal, the Fourth Circuit did not

21   formally reach the ministerial exception issue, though there was a lively discussion among the panel.

22   Judge Motz agreed with the district court that the ministerial exception did not apply to Palmer. 72

23   F.4th at 74. Judge Richardson’s suggestion to the contrary was “no mere application of existing

24   precedent. It is a dramatic broadening of the ministerial exception that would swallow the rule.” Id.

25   (Motz, J., concurring).3 The same is true of World Vision’s arguments here.

26
       3
        Although Judge King did not join Judge Motz’s concurrence, his majority opinion (joined by Judge Motz) dismissed
       Judge Richardson’s opinion as “unnecessary” and “not authoritative”. 72 F.4th at 68 n.8.

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 1            Defendant would have this Court reject the unanimous decision in DeWeese-Boyd v.

 2   Gordon College, 487 Mass. 31, 63 N.E.3d 1000 (2021), cert. denied, 142 S. Ct. 942 (2022), because

 3   four United Supreme Court Justices criticized the opinion’s “understanding of religious education.”

 4   Compare Dkt. No. 58 at 20 with Dkt. No. 52 at 17 n.2. Four Justices does not a majority make. Cf.

 5   Dkt. No. 58 at 20. Moreover, those four Supreme Court Justices took no issue with De Weese-Boyd’s

 6   general discussion of the ministerial exception including, but not limited to, its determination that

 7   “having a call to minister to others” and “the integration of religious faith and belief with daily life

 8   and work” do not trigger the exception. 487 N.E. at 48, 54. DeWeese-Boyd remains persuasive

 9   authority regarding the profound jurisprudential and workplace consequences of the overly broad

10   interpretation of the ministerial exception to the laws against employment discrimination for which

11   Defendant advocates. See Palmer, 72 F.4th at 74-75 (Motz, J., concurring) (citing DeWeese-Boyd).

12            Defendant is correct that Plaintiff’s motion for summary judgment did not cite Alicea-

13   Hernandez v. Catholic Bishop of Chicago, 320 F.3d 698 (7th Cir. 2003), Dkt. No. 58 at 20-21, or any

14   other ministerial exception case decided before Hosanna-Tabor and Our Lady of Guadalupe. But as

15   Plaintiff explained in her opposition to Defendant’s motion, Alicea-Hernandez provides a persuasive

16   counterexample showing why the ministerial exception does not apply here. Dkt. No. 56 at 13-15.

17   Alicea-Hernandez ruled that the plaintiff there “served a ministerial function” because her “unique

18   responsibilities at the Church” in the position of Hispanic Communications Manager/press secretary

19   included “conveying the message of [the] organization to the public as whole.” 320 F.3d at 700, 704

20   (emphasis added). By contrast, in January 2021 Defendant employed approximately 60 Customer

21   Service Representatives, Dkt. No. 29 at ¶ 5, all of whom had the same duties. Defendant’s assertion

22   that because Customer Service Representatives collectively interact with the public at large, they

23   perform “more vital” religious functions than Alicea-Hernandez did, Dkt. No. 58 at 21, turns the

24   Seventh Circuit’s reasoning on its head. Defendant’s argument also leads to every worker who

25   interacts with the public for a religious organization being a minister.

26



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 1               The parties agree that “all facts relevant to” the ministerial exception are undisputed. Dkt.

 2   No. 58 at 21. Plaintiff is entitled to summary judgment on that affirmative defense.

 3        III.      NONE OF WORLD VISION’S OTHER DEFENSES ARE MERITORIOUS
 4               Defendant claims that Plaintiff “disregards” Braidwood Mgt. Inc., v. EEOC, 70 F.4th 914
 5   (5th Cir. 2023), Dkt. No. 58 at 23, but it is World Vision that does so. Braidwood held that Bostock
 6   v. Clayton Cty, 140 S. Ct. 1731 (2020), gives religious employers “three potential avenues of legal
 7   recourse...to shield themselves from any potential infringement of their religious rights” by Title VII
 8   suits alleging sexual orientation discrimination. 70 F.4th at 918 (emphasis added). Defendant has
 9   unsuccessfully pursued two of those avenues, the religious employer exemption and the ministerial
10   exception. The third, the RFRA, is not before the Court.
11               No court has accepted Defendant’s BFOQ, Free Exercise, Expressive Association, or Free
12   Speech affirmative defenses in the context of a private plaintiff discrimination action. Defendant
13   speciously argues that the three and a half years since Bostock are not enough time for these issues
14   to have arisen. Dkt. No. 58 at 22. But they have. See Billard v. Charlotte Catholic High School, No.
15   3:17-cv-00011, 2021 WL 4037431, at *22-24 (W.D.N.C. Sept. 3, 2021), appeal filed (Apr. 25, 2022)
16   (rejecting expressive association defense to Title VII claim); Starkey v. Roman Catholic Archdiocese
17   of Indianapolis, 496 F. Supp. 3d 1195, 1208 (S.D. Ind. 2020) (same).4
18               Defendant cites a litany of First Amendment cases on page 22 of its opposition. None of
19   them supports the proposition that employers have a First Amendment defense other than the
20   ministerial exception to a private plaintiff discrimination action. World Vision seeks to immunize
21   itself and other employers from statutory liability for facially discriminatory employment practices
22   based on their religious or philosophical objection to equal treatment in the workplace in accordance
23

24

25    4
        Defendant predicts that the Fourth Circuit will hold that Billard qualifies for the ministerial exemption. Dkt. No. 28
      at 34. If so, such a ruling would not undermine the district court’s rejection of the employer’s expressive association
26    defense. Similarly, Starkey did not “abandon” its expressive association holding in subsequently ruling that the
      ministerial exception barred the plaintiff’s claims. Starkey v. Roman Catholic Archdiocese of Indianapolis, Inc., 553
      F. Supp. 3d 616 (S.D. Ind. 2021), aff’d, 41 F.4th 931 (7th Cir. 2022).

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 1   with federal and state law. This Court should reject World Vision’s BFOQ defenses and all its First

 2   Amendment challenges to Title VII and the WLAD.5

 3                 A. Plaintiff is Entitled to Summary Judgment on the BFOQ Defenses

 4             Defendant ignores governing United States Supreme Court and Ninth Circuit law setting

 5   the high hurdles it must surmount to survive summary judgment on its Title VII BFOQ defense. Dkt.

 6   No. 52 at 20-21. Defendant’s opposition to Plaintiff’s motion for summary judgment makes the same

 7   erroneous contentions as its affirmative summary judgment motion with respect to the relevant

 8   BFOQ. The applicable BFOQ is “not being in a same-sex marriage.” Dkt. No. 56 at 17-18. Defendant

 9   again improperly attempts to bolster its BFOQ defense by relying on “information” it claims to have

10   learned at Plaintiff’s deposition, which occurred more than two years after Defendant rescinded her

11   job offer. See Dkt. No. 56 at 15-17. An employer cannot be “motivated by knowledge it did not

12   have” when it took the adverse action. McKennon v. Nashville Banner Pub. Co., 513 U.S. 352, 360

13   (1995). Plaintiff is entitled to summary judgment on Defendant’s Title VII BFOQ defense.

14             Washington Supreme Court precedent makes it abundantly clear that the WLAD BFOQ

15   defense is even stricter than Title VII’s. To establish a BFOQ under Washington law, the employer

16   must show that “excluding members of a particular protected status group is essential to the purposes

17   of the job.” Hegwine v. Longview Fibre Co., 162 Wn.2d 340, 358, 172 P.3d 688 (2007) (internal

18   punctuation omitted). This in turn requires proof that (1) “all or substantially all persons in the

19   excluded class would be unable to efficiently perform the duties of the position at issue,” and (2)

20   “the essence of the operation would be undermined by hiring anyone in that excluded class.” Id.

21   (internal punctuation omitted). Plaintiff is therefore also entitled to summary judgment on World

22   Vision’s WLAD BFOQ defense.

23
      5
        Defendant incorrectly claims certification under 28 U.S.C. § 2403 is not necessary because World Vision seeks a
24    constitutional exemption from Title VII and the WLAD only “for itself.” Dkt. No. 58-23. Defendant’s Free Exercise
      challenge would provide a blanket exemption to every religious employer. Certification under 28 U.S.C. § 2403 is
25    required when a challenge “draws into the question the constitutionality” of a statute. Peruta v. County of San Diego,
      771 F.3d 570, 575 (9th Cir. 2014) (internal quotation omitted), rev’d on other grounds, 824 F.3d 919 (9th Cir. 2016)
26    (en banc). However, because U.S. Supreme Court, Ninth Circuit, and Washington Supreme Court precedent all
      preclude Defendant’s First Amendment challenges to Title VII and the WLAD, this Court can reject them without
      going through the 28 U.S.C. § 2403 certification process.

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 1                  B. There is No Free Exercise Defense to a Title VII Violation

 2             Defendant refuses to acknowledge that “there is no general constitutional immunity, over

 3   and above the ministerial exception, that can protect a religious institution from the law’s operation.”

 4   Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2397 n.1

 5   (2020) (Kagan, J., concurring in the judgment).

 6             Defendant urges this Court to disregard EEOC v. Fremont Christian School, 781 F.2d

 7   1362, 1368-69 (9th Cir. 1986), which held that Title VII passes strict scrutiny under the First

 8   Amendment. Dkt. No. 58 at 26. Without any supporting authority, Defendant asserts that Fremont

 9   was “overtaken” by Tandon v. Newson, 141 S. Ct. 1294 (2021) (per curiam), Fulton v. City of

10   Philadelphia, 141 S. Ct. 1868 (2021), and Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407 (2022).

11   Dkt. No. 58 at 26. Collectively those cases hold that where a government policy is not neutral

12   towards religion or generally applicable, the policy must meet strict scrutiny. Tandon, 141 S. Ct. at

13   1296; Fulton, 141 S. Ct. at 1877; Kennedy, 142 S. Ct. at 2421-22. Even if Title VII and the WLAD

14   were not both generally applicable and at least neutral towards religion (and they are), all that would

15   mean is that strict scrutiny applies. Fremont holds that Title VII meets strict scrutiny and its

16   reasoning is equally applicable to the WLAD. Contrary to what Defendant suggests, Dkt. No. 58 at

17   29, Tandon, Fulton, and Kennedy did not change the legal test for whether a statute passes strict

18   scrutiny. This Court is not free to disregard Fremont.6

19             But strict scrutiny does not apply here. “[F]ree exercise claims must fail” where, as here,

20   “‘prohibiting the exercise of religion...is not the object of the law but merely the incidental effect of

21   a generally applicable and otherwise valid provision....’” American Friends Service Committee

22   Corp. v. Thornburgh, 951 F.2d 957, 960 (9th Cir. 1991) (quoting Employment Division, Dep’t of

23   Human Resources v. Smith, 494 U.S. 872, 878 (1990)). Plaintiff has already refuted Defendant’s

24   argument that Title VII and the WLAD are not “generally applicable” within the meaning of Fulton

25

26     6
         To the degree there is tension between Fremont’s holding that Title VII satisfies strict scrutiny under the First
       Amendment and Braidwood’s contrary ruling in the context of a RFRA claim, 70 F.4th at 939-40, this Court must
       follow Ninth rather than Fifth Circuit law.

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 1   and Fellowship of Christian Athletes v. San Jose Unified School Dist. Bd. of Ed., 82 F.4th 664 (9th

 2   Cir. 2023) (en banc). Dkt. No. 52 at 24; Dkt. No. 56 at 19-21.

 3            Defendant erroneously claims that Title VII and the WLAD are not neutral towards religion

 4   because those statutes exempt small employers but do not exempt employers with religious

 5   objections to same-sex marriage. Dkt. No. 58 at 28-29. Defendant’s argument is the epitome of a

 6   non-sequitur. Tandon holds that government regulations are not neutral with respect to religion

 7   “whenever they treat any comparable secular activity more favorably than religious exercise.” 141

 8   S. Ct. at 1294. Having fewer than 15 or eight employees is not a “secular activity” and is not

 9   comparable for First Amendment purposes to having a religious objection to same-sex marriage. If

10   Title VII and the WLAD exempted only secular small employers but not small religious ones, then

11   those statutes would not be neutral to religion.

12            The truth of the matter is that Title VII and the WLAD treat religious exercise more

13   favorably than comparable secular activity. Both statutes have an exemption for religious employers.

14   42 U.S.C. § 2000e-1(a); Woods v. Seattle’s Union Gospel Mission, 197 Wn.2d 231, 250, 481 P.3d

15   1060 (2021), cert. denied, 142 S. Ct. 1094 (2022). Both statutes require accommodation of practices

16   grounded in religious but not secular or political beliefs. See Doe v. San Diego Unified School Dist.,

17   19 F.4th 1173, 1180 (9th Cir. 2021); Kumar v. Gate Gourmet Inc., 180 Wn.2d 481, 496, 325 P.3d 193

18   (2014) (adopting Title VII religious accommodation law). There are no instances where the statutes

19   give greater protection to secular practices than comparable religious ones.

20            Title VII and the WLAD are both generally applicable and at least neutral with respect to

21   religion. Therefore, rational basis review applies. Both statutes are “rationally related to a legitimate

22   governmental purpose.” Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1084 (9th Cir. 2015). RCW

23   49.60 is a “neutral, generally applicable law subject to rational basis review.” State v. Arlene’s

24   Flowers, Inc., 193 Wn.2d 469, 523, 441 P.3d 1203 (2019), cert. denied, 141 S. Ct. 2884 (2021).

25   “And the WLAD clearly meets that standard.” Id. Plaintiff is entitled to summary judgment on World

26   Vision’s free exercise affirmative defense.



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 1                C. Plaintiff is Entitled to Summary Judgment on Expressive Association

 2            In Hishon v. King & Spalding, 467 U.S. 69, 78 (1984), the United States Supreme Court

 3   “rejected the argument that Title VII infringed employers’ First Amendment rights.” Wisconsin v.

 4   Mitchell, 508 U.S. 476, 487 (1993). Defendant’s summary judgment opposition ignores Mitchell,

 5   but this Court cannot. Not even Bear Creek Bible Church v. EEOC, 571 F. Supp. 3d 571, 616 (N.D.

 6   Tex. 2021), aff’d in part, vacated in part, and reversed in part, sub nom Braidwood Mgt. Inc. v.

 7   EEOC, 70 F.4th 914 (5th Cir. 2023), suggested that Hishon has been “overtaken by decades of

 8   precedent.” Cf. Dkt. No. 58 at 33. Bear Creek Church’s refusal to find that Hishon forecloses an

 9   expressive association defense in a Title VII action cannot be squared with Mitchell. The Fifth

10   Circuit did not affirm Bear Creek Church’s expressive association rulings. Dkt. No. at 58 at 23.

11   Indeed, Briarwood did not number expressive association among the affirmative defenses available

12   to an employer in a Title VII sexual orientation discrimination suit. 70 F.4th at 918.

13            Defendant’s assertion that Title VII and WLAD constitute “content and viewpoint

14   discrimination,” Dkt. No. 58 at 32, directly conflicts with the Supreme Court’s holding in Mitchell

15   that Title VII is “a permissible content-neutral regulation of conduct,” 508 U.S. at 487.

16            Plaintiff did not mention Slattery v. Hochul, 61 F.4th 278 (2d Cir. 2023), in her renewed

17   motion for summary judgment because that case does not involve Title VII or a state fair

18   employment practices law analogous to Title VII and the WLAD. Perhaps for this very reason,

19   Slattery failed to cite or consider either Hishon or Mitchell. Slattery’s failure to do so undermines

20   the applicability of its analysis to this case, not as Defendant suggests, the authoritativeness of those

21   Supreme Court precedents. Dkt. No. 58 at 33. Plaintiff has already discussed Slattery in detail. Dkt.

22   No. 56 at 25-27. For many reasons, Defendant is incorrect that the “only real difference between”

23   Slattery and this case is that “the protected trait in Slattery was reproductive rights, not sexual

24   orientation.” Dkt. No. 58 at 23. Plus, that Slattery involved abortion and this case involves (1) a

25   federal law enacted to enforce the Fourteenth Amendment guarantee of equal protection and (2) the

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 1   fundamental right to engage in same-sex marriage is a distinction of constitutional magnitude. Dkt.

 2   No. 56 at 27.

 3            Even if this Court were to disagree with Plaintiff that Mitchell and Hishon foreclose World

 4   Vision’s expressive association defense, Defendant has not shown that compliance with Title VII

 5   and the WLAD would impose a “serious” or “severe” burden on its right to expressive association.

 6   See Roberts v. U.S. Jaycees, 468 U.S. 609, 626 (1984); Slattery, 61 F.4th at 287; Dkt. No. 56 at 24-

 7   25. That alone distinguishes this case from both Boy Scouts of Am. v. Dale, 530 U.S. 640, 648, 653

 8   (2000), and Slattery, 61 F.4th at 288. Just like in Billard v. Charlotte Catholic High School, No. 3:17-

 9   cv-00011, 2021 WL 4037431, at *24 (W.D.N.C. Sept. 3, 2021), appeal filed (Apr. 25, 2022), World

10   Vision has shown at most an incidental burden. An incidental burden on expressive association does

11   not trigger strict scrutiny. Slattery, 61 F.4th at 287. As in Hishon, the strong public interest in

12   preventing invidious workplace discrimination outweighs any burden on World Vision’s right to

13   expressive association. Accord Billard, 2021 WL 4037431, at *24; Starkey v. Roman Catholic

14   Archdiocese of Indianapolis, 496 F. Supp. 3d 1195, 1208 (S.D. Ind. 2020).

15             The Court should grant summary judgment to McMahon on World Vision’s expressive

16   association defense.

17            D. Complying with Employment Discrimination Laws is Not Compelled Speech

18            Defendant attempts to distinguish the holding of Pittsburgh Press Co. v. Pittsburgh

19   Commission on Human Relations, 413 U.S. 376 (1973), that the First Amendment does not provide

20   a free speech defense to laws prohibiting facially discriminatory employment practices,7 on the basis

21   that that case involved commercial speech. Dkt. No. 58 at 35. Commercial speech is entitled to First

22   Amendment protection because it is speech. E.g., Central Hudon Gas & Elec. Corp. v. Pub. Serv.

23   Comm’n, 447 U.S. 557 (1980). Unlike web design or photography, hiring or continuing to employ

24   someone is not expressive conduct protected by the First Amendment. Slattery, 61 F.4th at 291.

25   Government regulation of an employer’s “personnel decisions” is not “itself a regulation of speech.”

26    7
       Contrary to what Defendant argues, Dkt. No. 58 at 36-37, Greater Philadelphia Chamber of Commerce v. City of
      Philadelphia, 949 F.3d 116 (3d Cir. 2020), has no bearing on this case. This Court has already ruled that Defendant’s
      prohibition against hiring individuals who are in same-sex marriages is facially discriminatory. Dkt. No. 44.

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 1   Id. at 292. “It is possible to find some kernel of expression in almost every activity…but such a

 2   kernel is not sufficient to bring the activity within the protection of the First Amendment.” City of

 3   Dallas v. Stanglin, 490 U.S. 19, 25 (1989). Because compliance with Title VII and the WLAD will

 4   not require Defendant to engage in compelled speech, 303 Creative LLC v. Elenis, 143 S. Ct. 2298

 5   (2023), has no application here.

 6        IV.      CONCLUSION

 7              This Court should grant Plaintiff’s Renewed Motion for Summary Judgment on

 8   Affirmative Defenses in its entirety.

 9              RESPECTFULLY SUBMITTED, this 20th day of October 2023.

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